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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 CAIR FOUNDATION, INC., d/b/a
 COUNCIL ON AMERICAN-ISLAMIC                    Civil No.: 0:21-cv-01267 (SRN/TNL)
 RELATIONS, & CAIR,

                        Plaintiff,               JOINT MOTION REGARDING
                                                  CONTINUED SEALING ON
 v.                                              DEFENDANT LORI SAROYA’S
                                                    MOTION TO COMPEL
 LORI SAROYA,

                       Defendant.



         Documents have been filed under temporary seal in connection with the following

motion:

         DEFENDANT LORI SAROYA’S MOTION TO COMPEL [ECF 33].

Pursuant to LR 5.6, the parties submit this Joint Motion Regarding Continued Sealing.




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                                                  Mark “X” in Applicable Column

  Docket        Description of      Relevant    Parties       Parties     Parties    Nonparty that   Reason Why Document Should
   No.           Document            Page      Agree Doc.   Agree Doc.    Disagree    Designated     Remain Sealed or Be Unsealed
                                    Numbers     Should      Should Be                    Doc.
                                                Remain       Unsealed                 Confidential
                                                Sealed                                 (If Any)


    36       Unredacted              5-13                                    X           N/A         CAIR’s position: This
             Memorandum in                                                                           document should remain
             Support of                                                                              sealed. Saroya executed a
             Defendant Lori                                                                          Confidentiality
             Saroya’s Motion to                                                                      Agreement with CAIR
             Compel                                                                                  whereby she agreed not to
                                                                                                     disclose CAIR’s
                                                                                                     Confidential Information,
                                                                                                     including information
                                                                                                     related to CAIR’s
                                                                                                     proprietary business
                                                                                                     plans, finances,
                                                                                                     fundraising, and
                                                                                                     information regarding
                                                                                                     CAIR’s internal
                                                                                                     processes, to third parties.
                                                                                                     See Saroya’s Agreement,
                                                                                                     Exhibit B to CAIR’s
                                                                                                     Complaint (Dkt. #1).
                                                                                                     After her employment
                                                                                                     with CAIR terminated,
                                                                                                     Saroya misappropriated
                                                                                                     CAIR’s Confidential
                                                                                                     Information by, inter alia,

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                                                                         sending her entire CAIR
                                                                         email box to her home
                                                                         address. Saroya’s
                                                                         Unredacted Memorandum
                                                                         discloses information and
                                                                         documents that are
                                                                         subject to Saroya’s
                                                                         Confidentiality
                                                                         Agreement, including
                                                                         internal proprietary
                                                                         business information that
                                                                         can be used to CAIR’s
                                                                         competitive disadvantage
                                                                         if unsealed.

                                                                         Saroya’s argument the
                                                                         Memorandum should not
                                                                         remain sealed because
                                                                         “no party or non-party has
                                                                         designated any document
                                                                         at issue for the purpose of
                                                                         this motion as
                                                                         ‘Confidential’” belies
                                                                         common sense. Saroya
                                                                         authored the
                                                                         Memorandum and chose
                                                                         to disclose information
                                                                         and documents subject to
                                                                         her valid and enforceable
                                                                         Confidentiality
                                                                         Agreement. Accordingly,


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                                                                         CAIR is well within its
                                                                         rights to now seek that the
                                                                         Memorandum remain
                                                                         sealed pursuant to the
                                                                         Protective Order [Dkt.
                                                                         #32] entered in this case.

                                                                         Saroya’s Position:
                                                                         The Protective Order
                                                                         dated October 7, 2021
                                                                         [Dkt. #32] allows for
                                                                         filing certain
                                                                         “Confidential”
                                                                         information under seal. It
                                                                         provides that parties or
                                                                         non-parties may designate
                                                                         documents as
                                                                         “Confidential,” if they “in
                                                                         good faith” contend that
                                                                         the document contains
                                                                         “confidential or
                                                                         proprietary information.”
                                                                         (Protective Order § 2(a).)
                                                                         This is to be done “by
                                                                         conspicuously marking
                                                                         each page with the word
                                                                         ‘Confidential.’” (Id. §
                                                                         2(b).) Here, no party or
                                                                         non-party has designated
                                                                         any document at issue for
                                                                         the purpose of this motion


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                                                                                                 as “Confidential,”
                                                                                                 rendering any continued
                                                                                                 sealing inappropriate.
                                                                                                 And the documents under
                                                                                                 seal do not meet the
                                                                                                 standard for a
                                                                                                 confidentiality
                                                                                                 designation. There is no
                                                                                                 basis to shield Saroya’s
                                                                                                 documents that she will
                                                                                                 use in her defense from
                                                                                                 public view, 1 nor has
                                                                                                 CAIR met its burden of
                                                                                                 demonstrating that it
                                                                                                 would suffer any kind of
                                                                                                 competitive disadvantage
                                                                                                 or other harm from
                                                                                                 disclosure of the
                                                                                                 information. (See
                                                                                                 Protective Order § 6(a)
                                                                                                 (“No document shall be
                                                                                                 filed under seal unless
                                                                                                 such document or
                                                                                                 information therein is
                                                                                                 genuinely confidential
                                                                                                 and/or there are
                                                                                                 compelling reasons to do
                                                                                                 so.”).) Furthermore,
                                                                                                 CAIR’s position that this

1
    Saroya denies CAIR’s allegations that she has breached any contractual or other obligation to CAIR.

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                                                                                       document should remain
                                                                                       under seal is belied by the
                                                                                       fact that its own
                                                                                       opposition, which
                                                                                       addresses the content of
                                                                                       Saroya’s memorandum
                                                                                       and declaration, is filed in
                                                                                       the public record.
    39       Ex. G to Kerbaugh                           X                    N/A
             Declaration -
             Excerpts from
             deposition
             transcript of Nihad
             Awad Hammad
             dated 1/9/13
    41       Declaration of Lori                                    X         N/A      CAIR’s position:
             Saroya in Support                                                         Saroya’s Declaration
             of Defendant’s                                                            discloses information and
             Motion to Compel                                                          documents that are
                                                                                       subject to Saroya’s
                                                                                       Confidentiality
                                                                                       Agreement, including
                                                                                       internal proprietary
                                                                                       business information that
                                                                                       can be used to CAIR’s
                                                                                       competitive disadvantage
                                                                                       if unsealed.

                                                                                       Saroya’s argument the
                                                                                       Memorandum should not
                                                                                       remain sealed because

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                                                                                      “no party or non-party has
                                                                                      designated any document
                                                                                      at issue for the purpose of
                                                                                      this motion as
                                                                                      ‘Confidential’” belies
                                                                                      common sense. Saroya
                                                                                      authored the Declaration
                                                                                      and chose to disclose
                                                                                      information and
                                                                                      documents subject to her
                                                                                      valid and enforceable
                                                                                      Confidentiality
                                                                                      Agreement. Accordingly,
                                                                                      CAIR is well within its
                                                                                      rights to now seek that the
                                                                                      Memorandum remain
                                                                                      sealed pursuant to the
                                                                                      Protective Order [Dkt.
                                                                                      #32] entered in this case.

                                                                                      Saroya’s Position:
                                                                                      Saroya incorporates her
                                                                                      response as set forth in
                                                                                      response to CAIR’s
                                                                                      position regarding the
                                                                                      document found at
                                                                                      Docket No. 36.
   41-1      Ex. A to Saroya                            X                    N/A
             Declaration –




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             New CAIR
             Chapter
             Application
   41-2      Ex. B to Saroya                                        X         N/A      CAIR’s position: Exhibit
             Declaration –                                                             B outlines CAIR’s
             Document                                                                  proprietary internal
             outlining approval                                                        approval process for new
             process for the                                                           chapter organizations. It
             creation of any                                                           is a document that Saroya
             new CAIR chapter                                                          obtained as an employee
                                                                                       of CAIR and is subject to
                                                                                       Saroya’s Confidentiality
                                                                                       Agreement. Saroya
                                                                                       misappropriated this
                                                                                       document at the
                                                                                       conclusion of her
                                                                                       employment with CAIR.
                                                                                       This document contains
                                                                                       internal proprietary
                                                                                       business information that
                                                                                       can be used to CAIR’s
                                                                                       competitive disadvantage
                                                                                       if unsealed.

                                                                                       Saroya’s Position:
                                                                                       Saroya incorporates her
                                                                                       response as set forth in
                                                                                       response to CAIR’s
                                                                                       position regarding the
                                                                                       document found at
                                                                                       Docket No. 36.


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   41-3      Ex. C to Saroya                                       X         N/A      CAIR’s position: Exhibit
             Declaration –                                                            C outlines CAIR’s
             Copy of CAIR’s                                                           proprietary
             Local Chapters                                                           reimbursement and
             (Affiliate)                                                              funding policies for
             Reimbursement                                                            chapter organizations. It
             Policy                                                                   is a document that Saroya
                                                                                      obtained as an employee
                                                                                      of CAIR and is subject to
                                                                                      Saroya’s Confidentiality
                                                                                      Agreement. Saroya
                                                                                      misappropriated this
                                                                                      document at the
                                                                                      conclusion of her
                                                                                      employment with CAIR.
                                                                                      This document contains
                                                                                      internal proprietary
                                                                                      business information that
                                                                                      can be used to CAIR’s
                                                                                      competitive disadvantage
                                                                                      if unsealed.

                                                                                      Saroya’s position: Saroya
                                                                                      incorporates her response
                                                                                      as set forth in response to
                                                                                      CAIR’s position
                                                                                      regarding the document
                                                                                      found at Docket No. 36.
   41-4      Ex. D to Saroya                                       X         N/A      CAIR’s position: Exhibit
             Declaration –                                                            D outlines CAIR’s
                                                                                      internal goals and


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             Document titled                                                           strategies for new chapter
             Chapter                                                                   growth. It is a document
             Department:                                                               that Saroya obtained as an
             Priorities, Goals &                                                       employee of CAIR and is
             Strategies (2018-                                                         subject to Saroya’s
             2022)                                                                     Confidentiality
                                                                                       Agreement. Saroya
                                                                                       misappropriated this
                                                                                       document at the
                                                                                       conclusion of her
                                                                                       employment with CAIR.
                                                                                       This document contains
                                                                                       internal proprietary
                                                                                       business information that
                                                                                       can be used to CAIR’s
                                                                                       competitive disadvantage
                                                                                       if unsealed.

                                                                                       Saroya’s position: Saroya
                                                                                       incorporates her response
                                                                                       as set forth in response to
                                                                                       CAIR’s position
                                                                                       regarding the document
                                                                                       found at Docket No. 36.
   41-5      Ex. E to Saroya                                        X         N/A      CAIR’s position: Exhibit
             Declaration -                                                             E is CAIR National
             CAIR’s 2017                                                               Board’s National
             National Strategic                                                        Strategic Plan for 2017.
             Plan                                                                      It outlines, inter alia,
                                                                                       CAIR’s business and
                                                                                       marketing plans, financial


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                                                                                     status, and fundraising
                                                                                     goals. It is a document
                                                                                     that Saroya obtained as an
                                                                                     employee of CAIR and is
                                                                                     subject to Saroya’s
                                                                                     Confidentiality
                                                                                     Agreement. Saroya
                                                                                     misappropriated this
                                                                                     document at the
                                                                                     conclusion of her
                                                                                     employment with CAIR.
                                                                                     This document contains
                                                                                     internal proprietary
                                                                                     business information that
                                                                                     can be used to CAIR’s
                                                                                     competitive disadvantage
                                                                                     if unsealed.

                                                                                     Saroya’s position: Saroya
                                                                                     incorporates her response
                                                                                     as set forth in response to
                                                                                     CAIR’s position
                                                                                     regarding the document
                                                                                     found at Docket No. 36.
   41-6      Ex. F to Saroya                                      X         N/A      CAIR’s position: Exhibit
             Declaration -                                                           F is an email from a
             March 9, 2017                                                           CAIR Board Member to
             email from CAIR                                                         CAIR employees
             Board member                                                            regarding CAIR Florida’s
             Manal Fakhoury to                                                       corporate structure,
             CAIR employees                                                          including its financial


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                                                                                     arrangement with CAIR.
                                                                                     Saroya misappropriated
                                                                                     this document at the
                                                                                     conclusion of her
                                                                                     employment with CAIR.
                                                                                     This document contains
                                                                                     internal proprietary
                                                                                     business information that
                                                                                     can be used to CAIR’s
                                                                                     competitive disadvantage
                                                                                     if unsealed.

                                                                                     Saroya’s position: Saroya
                                                                                     incorporates her response
                                                                                     as set forth in response to
                                                                                     CAIR’s position
                                                                                     regarding the document
                                                                                     found at Docket No. 36.
   41-7      Ex. G to Saroya                                      X         N/A      CAIR’s position: Exhibit
             Declaration –                                                           G is CAIR’s Information
             CAIR’s July 30,                                                         Technology Policy which
             2017 Information                                                        contains proprietary
             Technology Policy                                                       information regarding
                                                                                     CAIR’s electronic
                                                                                     capabilities and software.
                                                                                     Saroya misappropriated
                                                                                     this document at the
                                                                                     conclusion of her
                                                                                     employment with CAIR.
                                                                                     This document contains
                                                                                     internal proprietary


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                                                                                      business information that
                                                                                      can be used to CAIR’s
                                                                                      competitive disadvantage
                                                                                      if unsealed.

                                                                                      Saroya’s position: Saroya
                                                                                      incorporates her response
                                                                                      as set forth in response to
                                                                                      CAIR’s position
                                                                                      regarding the document
                                                                                      found at Docket No. 36.
   41-8      Ex. H to Saroya                             X                   N/A
             Declaration -
             CAIR’s Trademark
             Registration
   41-9      Ex. I to Saroya                                       X         N/A      CAIR’s position: Exhibit
             Declaration –                                                            I is a confidential tax
             Form 8868 for                                                            document pursuant to 26
             CAIR Foundation                                                          U.S.C. § 6103(a).
             Inc. dated 8/10/15
                                                                                      Saroya’s position: Saroya
                                                                                      incorporates her response
                                                                                      as set forth in response to
                                                                                      CAIR’s position
                                                                                      regarding the document
                                                                                      found at Docket No. 36.
                                                                                      In addition, Exhibit I does
                                                                                      not contain any financial
                                                                                      data.




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  41-10      Ex. J to Saroya                                       X         N/A      CAIR’s position: Exhibit
             Declaration -                                                            J is a confidential tax
             Form 8868 for                                                            document pursuant to 26
             Washington Trust                                                         U.S.C. § 6103(a).
             Foundation , Inc.
             dated 8/10/15                                                            Saroya’s position: Same
                                                                                      as above. Saroya
                                                                                      incorporates her response
                                                                                      as set forth in response to
                                                                                      CAIR’s position
                                                                                      regarding the document
                                                                                      found at Docket No. 36.
                                                                                      In addition, Exhibit J does
                                                                                      not contain any financial
                                                                                      data.
  41-11      Ex. K to Saroya                             X                   N/A
             Declaration - Form
             990 for
             Washington Trust
             Foundation
  41-12      Ex. L to Saroya                             X                   N/A
             Declaration -Form
             990 for CAIR
             Foundation Inc.
  41-13      Ex. M to Saroya                             X                   N/A
             Declaration -
             Amended &
             Restated Bylaws of
             Washington Trust




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             Foundation, LLC
             dated 12/6/12
  41-14      Ex. N to Saroya                                       X         N/A      CAIR’s position: Exhibit
             Declaration -Draft                                                       N is a draft Memorandum
             Memorandum of                                                            of Understanding which
             Understanding                                                            contains proprietary
             between CAIR and                                                         information regarding
             the Washington                                                           CAIR’s finances and its
             Trust Foundation,                                                        fundraising efforts.
             Inc.                                                                     Saroya misappropriated
                                                                                      this document at the
                                                                                      conclusion of her
                                                                                      employment with CAIR.
                                                                                      This document contains
                                                                                      internal proprietary
                                                                                      business information that
                                                                                      can be used to CAIR’s
                                                                                      competitive disadvantage
                                                                                      if unsealed.

                                                                                      Saroya’s position: Saroya
                                                                                      incorporates her response
                                                                                      as set forth in response to
                                                                                      CAIR’s position
                                                                                      regarding the document
                                                                                      found at Docket No. 36.




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 Dated: November 15, 2021                SAUL EWING ARNSTEIN & LEHR, LLP

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 Dated: November 15, 2021                CHRISTENSEN LAW OFFICE PLLC

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